      Case 18-50100            Doc 2      Filed 05/31/18          EOD 05/31/18 13:50:55               Pg 1 of 2



                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

IN RE:                                    )
                                          )
ITT EDUCATIONAL SERVICES, INC., et al. 1  )                               Case No. 16-07207-JMC-7A
                                          )
      Debtors.                            )                               Jointly Administered
__________________________________________)
                                          )
DEBORAH J. CARUSO, the CHAPTER 7          )
TRUSTEE for ITT EDUCATIONAL               )
SERVICES, INC., ESI SERVICE CORP. and     )
DANIEL WEBSTER COLLEGE, INC.,             )
                                          )
                  Plaintiff,              )                               Adversary No. 18-50100
                                          )
      vs.                                 )
                                          )
KEVIN MODANY, JOHN E. DEAN, C. DAVID )
BROWN II, JOANNA T. LAU, THOMAS I.        )
MORGAN, JOHN VINCENT WEBER, JOHN F. )
COZZI, SAMUEL L. ODLE, and JERRY M.       )
COHEN,                                    )
                                          )
                  Defendants.             )

                                        NOTICE OF APPEARANCE

         John C. Hoard with the law firm of Rubin & Levin, P.C. hereby enters his appearance in

this adversary proceeding on behalf of the Plaintiff, Deborah J. Caruso, the chapter 7 trustee in

the above-referenced bankruptcy case.




1
 The debtors in these cases, along with the last four digits of their respective federal tax identification numbers are
ITT Educational Services, Inc. [1311]; ESI Service Corp. [2117]; and Daniel Webster College, Inc. [5980].
       Case 18-50100                Doc 2         Filed 05/31/18             EOD 05/31/18 13:50:55       Pg 2 of 2



                                                                            Respectfully submitted,

                                                                            RUBIN & LEVIN, P.C.

                                                                       By: /s/ John C. Hoard
                                                                               John C. Hoard

                                                                            John C. Hoard (Atty. No. 8024-49)
                                                                            RUBIN & LEVIN, P.C.
                                                                            135 N. Pennsylvania Street, Suite 1400
                                                                            Indianapolis, Indiana 46204
                                                                            Tel: (317) 860-2875
                                                                            Fax: (317) 453-8621
                                                                            Email: johnh@rubin-levin.net
                                                                            Attorneys for Deborah J. Caruso, Trustee

                                               CERTIFICATE OF SERVICE

        I hereby certify that on May 31, 2018, a copy of the foregoing Notice of Appearance was
filed electronically. Notice of this filing will be sent to the following party/parties through the
Court’s Electronic Case Filing System. Party/parties may access this filing through the Court’s
system.

John C. Hoard johnh@rubin-levin.net, jkrichbaum@rubin-
levin.net;atty_jch@trustesolutions.com
U.S. Trustee ustpregion10.in.ecf@usdoj.gov


       I further certify that on May 31, 2018, a copy of the foregoing Notice of Appearance was
mailed by first-class U.S. Mail, postage prepaid and properly addressed, to the following:

None.

                                                                            /s/ John C. Hoard
                                                                            John C. Hoard
g:\wp80\trustee\caruso\itt educational - 86723901\adversary proceedings\cuso\drafts\appearance jch.doc




                                                                     -2-
